      Case 3:21-cv-00998-L-MSB Document 11 Filed 09/15/21 PageID.35 Page 1 of 2

1
2
3
4
5
6
7
8                               UNITED STATES DISTRICT COURT
9                              SOUTHERN DISTRICT OF CALIFORNIA
10
11   NATHANIEL WILLIAMS,                                 Case No.: 21cv998-L (MSB)
12                                      Plaintiff,
                                                         ORDER CONFIRMING SETTLEMENT AND
13   v.                                                  SETTING DEADLINE TO FILE JOINT
                                                         MOTION TO DISMISS
14   MIDLAND CREDIT MANAGEMENT, INC.,
15                                   Defendant.

16
17         The Court held an Early Neutral Evaluation Conference on September 15, 2021.
18   The parties settled the case, and the terms of the settlement were placed on the record.
19   Considering the settlement, the Court VACATES all pending dates before Magistrate
20   Judge Berg. Any matters currently scheduled before the district judge will remain in
21   effect pending notice from that court.
22         Plaintiff is ORDERED to file his motion for attorney’s fees (through September 2,
23   2021, per the settlement agreement), no later than September 29, 2021.
24         The parties are ORDERED to file their joint motion to dismiss this case, signed by
25   counsel of record and any unrepresented parties, no later than thirty days after the
26   District Judge’s order on Plaintiff’s fee motion. A proposed order granting the joint
27
28
                                                     1
                                                                                     21cv998-L (MSB)
         Case 3:21-cv-00998-L-MSB Document 11 Filed 09/15/21 PageID.36 Page 2 of 2

1    motion must be e-mailed to the assigned district judge’s chambers1 on the same day.
2            If the fully executed joint motion to dismiss is not filed by January 14, 2022, then
3    all counsel of record and unrepresented parties are required to appear in person for a
4    Settlement Disposition Conference. The Settlement Disposition Conference will be held
5    on January 20, 2022 at 1:30 p.m. in Courtroom 2C with Magistrate Judge Berg. If the
6    parties file their Joint Motion to Dismiss on or before January 14, 2022, the Settlement
7    Disposition Conference will be VACATED without further court order.
8            If counsel of record or any unrepresented party fails to appear at the Settlement
9    Disposition Conference, or the parties fail to file the signed Joint Motion to Dismiss in a
10   timely manner, the Court will issue an order to show cause why sanctions should not be
11   imposed for failing to comply with this Order.
12           IT IS SO ORDERED.
13   Dated: September 15, 2021
14
15
16
17
18
19
20
21
22
23
24
25
26
27   1 The proposed order must be e-mailed pursuant to section 2(h) of the United States District Court for
     the Southern District of California’s Electronic Case Filing Administrative Policies and Procedures
28   Manual, available at www.casd.uscourts.gov.
                                                        2
                                                                                              21cv998-L (MSB)
